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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No. 2:23-cv-01773-MEMF-KES                                                 Date: July 6, 2023

  Title: ARTURO FAVELA-GOMEZ v. WARDEN B. BIRKHOLZ


  PRESENT:

              THE HONORABLE KAREN E. SCOTT, U.S. MAGISTRATE JUDGE

                  Maria Barr for                                    Not Present
                  Jazmin Dorado
                 Courtroom Clerk                                   Court Reporter

         ATTORNEYS PRESENT FOR                            ATTORNEYS PRESENT FOR
              PETITIONER:                                     RESPONDENT:
               None Present                                    None Present



         PROCEEDINGS (IN CHAMBERS):                   Order Extending Petitioner’s Deadline to
                                                      File Objections to the R&R (Dkt. 22)

          Arturo Favela Gomez (“Petitioner”) filed a petition for writ of habeas corpus under 28
  U.S.C. § 2241 challenging the BOP’s failure to award him earned time credits under the First
  Step Act. (“Petition” at Dkt. 1.) On June 8, 2023, the Magistrate Judge issued a report and
  recommendation (“R&R”) finding that the District Judge should deny the Petition on the merits.
  (Dkt. 22.) At the same time as the R&R, the Court issued a notice informing Petitioner that he
  had until July 3, 2023 to file objections to the R&R. (Dkt. 23.) The Court has now received
  objections from Petitioner, but the objections appear to state that Petitioner received only the
  notice and not the R&R itself. (Dkt. 24.)

          IT IS THEREFORE ORDERED that Petitioner’s deadline to file objections to the R&R
  is extended to August 3, 2023. The Clerk is directed to attach a copy of the R&R to this order.



                                                                     Initials of Deputy Clerk: mba
